            Case 5:21-cv-00037-J Document 13 Filed 03/03/21 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF OKLAHOMA

JASON DURNING, as Personal                        )
Representative of the Estate of                   )
DOUGLAS DURNING, deceased,                        )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )       Case No. CIV-21-37-J
                                                  )
HONEYWELL INTERNATIONAL, INC.;                    )
JOHN DOES 1-5,                                    )
                                                  )
               Defendants.                        )

                                              ORDER

       Before the Court is Defendant Honeywell International, Inc.’s (Honeywell) Motion to

Dismiss under Rule 12(b)(2) [Doc. No. 4]. Plaintiff has filed his response, and Defendant has filed

a reply.

I.     Introduction

       This case arises from an airplane crash that occurred on March 18, 2019, that resulted in

the death of Douglas Durning (Durning). Durning was the pilot and was flying a Westwind 1124

airplane. As he and his co-pilot were beginning their final approach to land at Sundance Airport

in Canadian County, Oklahoma, it is believed that a component of the airplane malfunctioned,

causing the plane to roll, invert, and crash. AlliedSignal Inc., a predecessor to Honeywell,

designed and manufactured the engine equipped on the plane. Plaintiff alleges that the crash was

the result of a mechanical defect with the engine or, alternatively, was the result of a defect in the

design or production of the engine or engine components.

       On December 16, 2020, Plaintiff filed this case in the District Court of Canadian County,

State of Oklahoma. On January 15, 2021, Honeywell removed the case to this Court. Honeywell
            Case 5:21-cv-00037-J Document 13 Filed 03/03/21 Page 2 of 6




now moves this Court, pursuant to Federal Rule of Civil Procedure 12(b)(2), to dismiss Plaintiff’s

claims against it for lack of personal jurisdiction.

II.    Dismissal for Lack of Personal Jurisdiction Standard

       Plaintiff bears the burden of establishing personal jurisdiction. See Dudnikov v. Chalk &

Vermilion Fine Arts, Inc., 514 F.3d 1063, 1069 (10th Cir. 2008). However, when a motion to

dismiss is decided at the preliminary stage based upon the complaint and affidavits, a plaintiff need

only make a prima facie showing of personal jurisdiction. See id. at 1070. In determining whether

Plaintiff has made a prima facie showing, the Court resolves all factual disputes in favor of

Plaintiff. See id. Further,

               [t]o obtain personal jurisdiction over a nonresident defendant in a
               diversity action, a plaintiff must show both that jurisdiction is proper
               under the laws of the forum state and that the exercise of jurisdiction
               would not offend due process. Because Oklahoma’s long-arm
               statute permits the exercise of any jurisdiction that is consistent with
               the United States Constitution, the personal jurisdiction inquiry
               under Oklahoma law collapses into the single due process inquiry.

Intercom, Inc. v. Bell Atl. Internet Solutions, Inc., 205 F.3d 1244, 1247 (10th Cir. 2000) (internal

citations omitted).

               The Due Process Clause permits the exercise of personal jurisdiction
               over a nonresident defendant so long as there exist minimum
               contacts between the defendant and the forum State. The “minimum
               contacts” standard may be met in two ways. First, a court may,
               consistent with due process, assert specific jurisdiction over a non-
               resident defendant if the defendant has purposefully directed his
               activities at residents of the forum, and the litigation results from
               alleged injuries that arise out of or relate to those activities. When
               a plaintiff’s cause of action does not arise directly from a
               defendant’s forum-related activities, the court may nonetheless
               maintain general personal jurisdiction over the defendant based on
               the defendant’s business contacts with the forum state.

Id. (internal quotations and citations omitted).




                                                   2
             Case 5:21-cv-00037-J Document 13 Filed 03/03/21 Page 3 of 6




III.   Analysis

       Plaintiff asserts the Court has both general and specific personal jurisdiction over

Honeywell.

       A.      General personal jurisdiction

       A court may assert general jurisdiction over a corporation when its “affiliations with the

State are so continuous and systematic as to render [it] essentially at home in the forum State.”

BNSF Ry. Co. v. Tyrrell, 137 S. Ct. 1549, 1558 (2017) (internal quotations and citations omitted).

“The ‘paradigm’ forums in which a corporate defendant is ‘at home’ . . . are the corporation’s place

of incorporation and its principal place of business.” Id. (internal citations omitted). It is

undisputed that Honeywell is incorporated in Delaware and its principal place of business is in

North Carolina. See Petition [Doc. No. 1-1] at 1.

       Honeywell has a repair and overhaul facility in Tulsa, Oklahoma, that has approximately

70 employees. See Declaration of Tim Hearn [Doc. No. 5-1] at 2. Based upon the presence of this

facility and its employees in Oklahoma, Plaintiff contends that this Court may assert general

jurisdiction over Honeywell. Plaintiff asserts that these business contacts with Oklahoma are so

continuous and systematic as to render it essentially at home in Oklahoma. In light of the Supreme

Court’s recent decisions, the Court concludes that Honeywell’s facility in Tulsa is not an affiliation

with Oklahoma that is so continuous and systematic as to render it essentially at home in

Oklahoma. See Tyrrell, 137 S. Ct. at 1559 (finding railroad’s 2,000 miles of track and employment

of more than 2,000 employees in Montana insufficient to render it essentially at home in Montana);

Daimler AG v. Bauman, 571 U.S. 117, 138 (2014) (holding argument that court may exercise

general personal jurisdiction in every state in which corporation engages in substantial, continuous,

and systemic course of business is unacceptable grasping). As the Supreme Court has stated: “[a]



                                                  3
             Case 5:21-cv-00037-J Document 13 Filed 03/03/21 Page 4 of 6




corporation that operates in many places can scarcely be deemed at home in all of them.” Tyrrell,

137 S. Ct. at 1559 (internal quotations and citation omitted).

        Accordingly, the Court concludes that it does not have general personal jurisdiction over

Honeywell.

        B.      Specific personal jurisdiction

        Specific personal jurisdiction is quite different from general jurisdiction. In order for a

court to exercise specific jurisdiction, the case must arise out of or relate to the defendant’s contacts

with the forum. See Bristol-Myers Squibb Co. v. Super. Ct. of Calif., San Francisco Cty., 137 S.

Ct. 1773, 1780 (2017). “In other words, there must be an affiliation between the forum and the

underlying controversy, principally, [an] activity or an occurrence that takes place in the forum

State and is therefore subject to the State’s regulation.” Id. (internal quotations and citation

omitted). “When there is no such connection, specific jurisdiction is lacking regardless of the

extent of a defendant’s unconnected activities in the State.” Id. at 1781.

        Having reviewed the parties’ submissions, the Court concludes it does not have specific

personal jurisdiction over Honeywell.         The Court finds there is no connection between

Honeywell’s activities in Oklahoma and the specific claims at issue in this case. Plaintiff is

asserting claims against Honeywell based upon alleged defects in the design, manufacture,

warnings, and instructions for the TFE 731-3D-1G engines1 that were in the plane that crashed.

These engines were designed and manufactured in Arizona. See Declaration of Tim Hearn [Doc.

No. 5-1] at 2. Further, Honeywell’s interactions with the subject engines were limited to overhaul




1
  In his Petition, Plaintiff alleges that he believes the engines in the plane that crashed were a model
no. TPE-331-3-1G. Both Honeywell’s motion to dismiss and the Declaration of Tim Hearn state
that the engines were TFE 731-3D-1G engines. In his response to the motion to dismiss, Plaintiff
also refers to the engines involved as TFE-731-3D-1G engines.
                                                   4
            Case 5:21-cv-00037-J Document 13 Filed 03/03/21 Page 5 of 6




work performed in Arizona. See id. The TFE 731-3D-1G engine has never been designed or

manufactured in Oklahoma, and the Honeywell facility in Tulsa, Oklahoma does no work related

to these engines. See id. All of the conduct giving rise to Plaintiff’s claims occurred in Arizona,

not in Oklahoma.

       C.      Plaintiff’s request to conduct discovery

       If the Court finds that Plaintiff has not made a prima facie showing of personal jurisdiction,

Plaintiff alternatively requests leave to conduct preliminary discovery to establish what contacts

Honeywell has with the forum state and whether personal jurisdiction is proper. The Tenth Circuit

has held:

               A district court abuses its discretion in denying a jurisdictional
               discovery request where the denial prejudices the party seeking
               discovery. Prejudice exists where pertinent facts bearing on the
               question of jurisdiction are controverted . . . or where a more
               satisfactory showing of the facts is necessary.

Dental Dynamics, LLC v. Jolly Dental Grp., LLC, 946 F.3d 1223, 1233 (10th Cir. 2020) (internal

quotations and citations omitted).

       Having reviewed Plaintiff’s response, the Court concludes additional discovery is not

necessary. Specifically, the Court finds there are no relevant facts in dispute. Any contacts that

Honeywell has with Oklahoma that do not relate to the claims at issue in this case are not relevant,

and Plaintiff has not shown that the discovery he seeks relates to contacts Honeywell has with

Oklahoma related to the engine at issue.

       The Court, therefore, denies Plaintiff’s request to conduct discovery.

IV.    Conclusion

       For the reasons set forth above, the Court concludes that it does not have personal

jurisdiction over Honeywell. Accordingly, the Court GRANTS Honeywell’s Motion to Dismiss



                                                 5
           Case 5:21-cv-00037-J Document 13 Filed 03/03/21 Page 6 of 6




under Rule 12(b)(2) [Doc. No. 4] and DISMISSES Plaintiff’s claims against Honeywell. In light

of the Court’s dismissal of the claims against Honeywell, the Court REMANDS this case to the

District Court of Canadian County, State of Oklahoma.

       IT IS SO ORDERED this 3rd day of March, 2021.




                                              6
